     Case 4:16-cv-03869-JSW Document 210 Filed 12/30/19 Page 1 of 12



 1   KATHERINE F. WENGER/ CA SB# 223045
     MARISSA R. BOYD/ CA SB# 319255
 2   BROWN, GEE & WENGER LLP
     200 Pringle Avenue, Suite 400
 3   Walnut Creek CA 94596
     Telephone: (925) 943-5000
 4   Facsimile: (925) 933-2100
     kwenger@bgwcounsel.com
 5   mboyd@bgwcounsel.com
 6   ATTORNEYS FOR PLAINTIFF
                    O’BRIEN,
     CHRISTOPHER R. O'BRIEN,
 7
     AS TRUSTEE OF THE RAYMOND F. O'BRIEN
                                  O’BRIEN
 8   REVOCABLE TRUST

 9   SEYFARTH SHAW LLP
     G. Daniel Newland (SBN 87965)
10   Email: wland@seyfarth.com
     Laura J. Maechtlen (SBN 224923)
11   Email: lmaechtlen@seyfarth.com
     Chantelle C. Egan (SBN 257938)
12   Email: cegan@seyfarth.com
     Megha J. Charalambides (SBN 310892)
13   Email: mcharalambides@seyfarth.com
     560 Mission Street, Suite 3100
14   San Francisco, California 94105-2930
     Telephone: (415) 397-2823
15   Facsimile: (415) 397-8549

16   Attorneys for Defendants
     XPO CNW, INC. and XPO LOGISTICS, INC.
17

18                           UNITED STATES DISTRICT COURT

19                         NORTHERN DISTRICT OF CALIFORNIA

20
                      O’BRIEN as trustee of the
       CHRISTOPHER O'BRIEN                        CASE NO. 4:16-cv-03869-JSW
21     Raymond F. O'Brien
                  O’Brien Revocable Trust,        Filed: 5/27/16
22                   PLAINTIFF,                   PLAINTIFF'S
                                                  PLAINTIFF’S OBJECTIONS TO
23     v.                                         DEFENDANTS’ WRITTEN
                                                  DEFENDANTS'
                                                  DISCOVERY DESIGNATIONS;
24                                                DEFENDANTS’ RESPONSES
                                                  DEFENDANTS'
       XPO CNW, INC., and XPO LOGISTICS           THERETO
25     INC.,                                      TRIAL DATE: 2/3/2020
                                                  TIME:   8:00 AM
26
                                                  DEPT.:   Courtroom 5
                     DEFENDANTS.
27

28                                                HONORABLE JEFFREY S. WHITE

                                                                                               1
     OBJECTION TO DEFS.'
                  DEFS.’ DISCOVERY DESIGNATION; DEFS.'
                                                DEFS.’ RESPONSES THERETO   4:16-cv-03869-JSW
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 1          Plaintiff Christopher O'Brien
                                  O’Brien as Trustee of the Raymond F. O'Brien
                                                                       O’Brien Revocable Trust,
 2              Defendants’ use of the following written discovery (identified by Defendants in their
     objects to Defendants'
 3   December 27, 2019 Written Discovery Designation): Plaintiffs
                                                       Plaintiff’s Responses to XPO CNW, Inc.
 4   Request for Admissions, Set One, Response Nos. 3, 5 & 7. The text of these responses is
 5   attached hereto as Exhibit 1.
 6          Plaintiff objects to the use of these discovery responses on the grounds that the
 7   information set forth in such responses is not relevant to this matter and confusing, misleading
 8                                                                        Plaintiff's Motion in Limine
     and unfairly prejudicial to Plaintiffs. See F.R.E. 401-403. See also Plaintiff’s
 9 No. 2.

10          Defendants’ Response:
            Defendants'
11          As set forth in Plaintiffs
                            Plaintiff’s Witness List, attached to the Joint [Proposed] Trial Order,
12   Plaintiff Christopher O'Brien
                           O’Brien is being offered to testify concerning "Raymond
                                                                          “Raymond O'Brien's
                                                                                   O’Brien’s career
13 with and service to Con-Way."
                       Con-Way.” Plaintiffs
                                 Plaintiff’s inability to provide fulsome responses to Request for
14   Admission, Nos. 3, 5, and 7, which concern Raymond O'Brien's
                                                        O’Brien’s basic compensation and
15   retirement information while employed by or serving on the Board of Con-Way, is evidence of
16   Plaintiff's
     Plaintiff’s lack of knowledge regarding his anticipated testimony. See Fed. R. Evid. 602 ("A
                                                                                              (“A
17 witness may not testify to a matter unless evidence is introduced sufficient to support a finding

18   that the witness has personal knowledge of the matter.").
                                                    matter.”). Moreover, if permitted to testify as to
19               Defendants’ ability to impeachment would be compromised without these
     this topic, Defendants'
20   designations.
21                                                       Defendants’ Opposition to Plaintiffs
            Additionally, as more fulsomely set forth in Defendants'               Plaintiff’s Motion
22   in Limine No. 2, Raymond O'Brien's
                              O’Brien’s sources of income from Defendant XPO CNW, Inc. (Con-
23   Way’s successor) are relevant to Defendants'
     Way's                            Defendants’ intent and knowledge elements to the remaining
24   elder abuse and intentional interference with contract claims. For example, Devens considered
25                O’Brien was receiving retirement benefits in his analysis of whether CNW was
     that Raymond O'Brien
26                                                         O’Brien Interests, Inc. Furthermore, being
     contractually obligated to pay the $6,000 invoiced by O'Brien
27                                                                 O’Brien’s death, Defendants have
     the emotional distress allegations were pursued after Raymond O'Brien's
28   limited available evidence to defend against these allegations. Thus, Defendants must be able to

                                                                                                             2
     OBJECTION TO DEFS.'
                  DEFS.’ DISCOVERY DESIGNATION; DEFS.'
                                                DEFS.’ RESPONSES THERETO                 4:16-cv-03869-JSW
     Case 4:16-cv-03869-JSW Document 210 Filed 12/30/19 Page 3 of 12



 1 present evidence of Raymond O'Brien's
                               O’Brien’s finances in order to evaluate the purported emotional
 2   value of the loss of $6,000 to him.
 3      DATED: December 29, 2019                           BROWN, GEE & WENGER LLP
 4
                                                           /s/ Katherine F. Wenger
                                                           /s/
 5                                                         KATHERINE F. WENGER
                                                                                        O’Brien as
                                                           Attorneys for Christopher R. O'Brien
 6                                                         Trustee of the Raymond F. O'Brien
                                                                                      O’Brien
                                                           Revocable Trust
 7

 8
      DATED: December 30, 2019                              Respectfully submitted,
 9

10                                                          SEYFARTH SHAW LLP

11
                                                                /s/ Chantelle C. Egan
                                                            By: /s/
12                                                              Chantelle C. Egan
                                                            Attorneys for Defendants
13                                                          XPO Logistics, Inc. and XPO CNW, Inc.
14

15
                                       SIGNATURE ATTESTATION
16
              I hereby attest that all signatories listed above, on whose behalf this stipulation is
17
     submitted, concur in the filing’s
                              filing's content and have authorized the filing.
18
        DATED: December 30, 2019                           /s/ Chantelle C. Egan
                                                           /s/
19
                                                                Chantelle C. Egan
20                                                         Attorneys for Defendants
                                                           XPO Logistics, Inc. and XPO CNW, Inc.
21

22
     60928360v.1

23

24

25

26

27

28

                                                                                                                 3
     OBJECTION TO DEFS.'
                  DEFS.’ DISCOVERY DESIGNATION; DEFS.'
                                                DEFS.’ RESPONSES THERETO                     4:16-cv-03869-JSW
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           EXHIBIT 1
     Case 4:16-cv-03869-JSW Document 210 Filed 12/30/19 Page 5 of 12



1 KATHERINE F. WENGER/ CA SB# 223045
  BROWN, GEE & WENGER LLP
2 200 Pringle Avenue, Suite 400
  Walnut Creek CA 94596
3 Telephone: (925) 943-5000
  Facsimile: (925) 933-2100
4 kwenger@bgwcounsel.com

5 ATTORNEYS FOR PLAINTIFF
  CHRISTOPHER O'BRIEN,
6 AS TRUSTEE OF THE RAYMOND F. O'BRIEN
7 FAMILY TRUST

8

9                              UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
10
                                    SAN FRANCISCO DIVISION
11

12
        CHRISTOPHER O'BRIEN,
        AS TRUSTEE OF THE RAYMOND F.                  CASE NO. 4:16-cv-03869-JCS
13
        O'BRIEN FAMILY TRUST                          Filed: 5/27/16
14
                     PLAINTIFF,                       PLAINTIFF'S RESPONSE TO
15                                                    DEFENDANT XPO CNW, INC.'S
        v.                                            REQUEST FOR ADMISSIONS, SET ONE
16

17      XPO LOGISTICS WORLDWIDE, INC., a
            Delaware corporation;
18      CON-WAY GLOBAL SOLUTIONS, INC.,
            a Delaware corporation;
19      and DOES 1-20, inclusive,
20                    DEFENDANTS.

21
       PROPOUNDING PARTY:                 Defendant XPO CNW, INC.
22

23     RESPONDING PARTY:                  Plaintiff CHRISTOPHER O'BRIEN,
                                          AS TRUSTEE OF THE RAYMOND F. O'BRIEN
24                                        FAMILY TRUST

25     SET NO.:                           One
26
             Pursuant to Code of Civil Procedure ("Code Civ. Proc.") § 2031.210 et. seq., Plaintiff
 27
       Christopher O'Brien, as Trustee of the Raymond F. O'Brien Family Trust ("Responding
 28

       PLAINTIFF'S RESPONSE TO DEFENDANT'S XPO CNW, INC.'S REQUEST FOR ADMISSIONS, SET ONE
     Case 4:16-cv-03869-JSW Document 210 Filed 12/30/19 Page 6 of 12



1     Party") hereby provides these objections and response to REQUEST FOR ADMISISONS, Set
2 One, propounded by Defendant XPO CNW, INC. ("Propounding Party").
3
4 REQUEST FOR ADMISSIONS NO: 1:
5            Please admit that from 1977 to 1988, and then again from 1990 to 1991 YOU served as
6 Chief Executive Officer of CON-WAY.
7
      RESPONSE TO REQUEST FOR ADMISSIONS NO: 1:
8
             Responding Party objects to this request to the extent it seeks information which is
9
      equally available to Propounding Party. Responding Party also objects to the use of the terms
10
      "YOU" and "CON-WAY", as defined, as rendering the request compound and unintelligible and
11
12 also objects to the request as generally compound. Responding Party further objects to the term
13 "served" as vague and ambiguous. Responding Party also objects to this request to the extent it
14 seeks information that is not relevant to the claims or defenses of either party.
15
             Subject to and without waiving the foregoing objection, Plaintiff states that, based on the
16
      deposition testimony provided by Raymond O'Brien in this matter, he is informed and believes
17
       that from 1977 through April of 1988 and 1990-1991 XPO CNW, Inc. (formerly known as Con-
18
19 Way, Inc. and before that Consolidated Freightways, Inc.), employed Raymond O'Brien as its
20 Chief Executive officer. Otherwise, Responding Party states despite a good faith, reasonable
21 inquiry, he does not have information sufficient to admit or deny the remainder of this request as
22 written, and has no means of readily obtaining such information.
23
   REQUEST FOR ADMISSIONS NO: 2:
24
           Please admit that from in 1988 you retired from your position as the Chief Executive
25
   Officer of CON-WAY.
26


 28    PLAINTIFF'S RESPONSE TO DEFENDANT XPO CNW, INC.'S REQUEST FOR ADMISSIONS, SET ONE
     Case 4:16-cv-03869-JSW Document 210 Filed 12/30/19 Page 7 of 12



1     RESPONSE TO REQUEST FOR ADMISSIONS NO: 2:
2            Plaintiff objects to this request as vague and ambiguous and in particular objects to the
3
      term "you" without defining that term. Responding Party further objects to the terms "retired"
4
      and "position" as vague and ambiguous. Responding Party also objects to the term "CON-
5
      WAY" as defined as rendering the request compound and unintelligible. Responding Party
6
7 further objects to this request to the extent it seeks information which is equally available to
8 Propounding Party. Responding Party also objects to this request to the extent it seeks
9 information that is not relevant to the claims or defenses of either party.
10
             Subject to and without waiving the foregoing, Responding Party states that he is informed
11
      and believes based on the testimony of Raymond O'Brien provided in this matter, that in April of
12
      1988 Raymond O'Brien stopped serving as Chief Executive Officer of XPO CNW, Inc.
13
      (formerly known as Con-Way, Inc. and before that Consolidated Freightways, Inc.). Otherwise,
14
15 despite a good faith, reasonable inquiry, Responding Party does not have information sufficient
16 to admit or deny this request as written, and has no means of readily obtaining such information.
17 REQUEST FOR ADMISSIONS NO: 3:
18
              Please admit that YOU received a yearly salary for each year you served as the Chief
19
       Executive Officer of CON-WAY.
20
       RESPONSE TO REQUEST FOR ADMISSIONS NO: 3:
21
22            Plaintiff objects to this request as vague and ambiguous and in particular objects to the

23 term "yearly salary". Responding Party also objects to the use of the term "YOU" and "CON-
24 WAY", as defined, as rendering the request compound and unintelligible. Responding Party
25     further objects to this request as seeking information that is not relevant to a claim or defense of
26
       any party. Responding Party also objects to this request to the extent it seeks information which
27
                                                                                                              3
28     PLAINTIFF'S RESPONSE TO DEFENDANT XPO CNW, INC.'S REQUEST FOR ADMISSIONS, SET ONE
     Case 4:16-cv-03869-JSW Document 210 Filed 12/30/19 Page 8 of 12



1     is equally available to Propounding Party. Responding Party further objects to this request to the
2     extent it seeks Raymond O'Brien's personal financial information protected by Raymond
3
      O'Brien's right to privacy as set forth in Article I, Section I of the California Constitution.
4
              Subject to and without waiving the foregoing objections, Responding Party states that he
5
      is unable to admit or deny this request based on its ambiguity and based on the fact that, despite a
6
7 good faith, reasonable inquiry, he does not have knowledge of all of the details regarding of all
8     of the compensation that Raymond O'Brien received when he was employed by XPO CNW, Inc.
9 (formerly known as Con-Way, Inc. and before that Consolidated Freightways, Inc.) as its Chief
10
      Executive Officer, and has no means of readily obtaining such information.
11
      REQUEST FOR ADMISSIONS NO: 4:
12
              Please admit that YOU sometimes received a performance-based bonus for serving as
13
      Chief Executive Officer of CON-WAY.
14
15    RESPONSE TO REQUEST FOR ADMISSIONS NO: 4:

16            Responding Party objects to this request as vague and ambiguous and in particular
17     objects to the term "performance-based bonus" as vague and ambiguous. Responding Party also
18
       objects to the use of the term "YOU" and "CON-WAY", as defined, as rendering the request
19
       compound and unintelligible. Responding Party further objects to this request as seeking
20
       information that is not relevant to any claim or defense in this matter. Responding Party further
21
22     objects to this request to the extent it seeks information which is equally available to

23     Propounding Party. Responding Party also objects to this request to the extent it seeks Raymond

24 O'Brien's personal financial information protected by Raymond O'Brien's right to privacy as set
25     forth in Article 1, Section I of the California Constitution.
26
               Subject to and without waiving the foregoing objection, Responding Party states despite a
 27                                                                                                          4
 28    PLAINTIFF'S RESPONSE TO DEFENDANT XPO CNW, INC.'S REQUEST FOR ADMISSIONS, SET ONE
     Case 4:16-cv-03869-JSW Document 210 Filed 12/30/19 Page 9 of 12



1     good faith, reasonable inquiry, he does not have information sufficient to admit or deny this
2     request, and has no means of readily obtaining such information.
3
      REQUEST FOR ADMISSIONS NO: 5:
4
              Please admit that you received RETIREMENT BENEFITS for your service as CON-
5
      WAY's employee.
6
7     RESPONSE TO REQUEST FOR ADMISSIONS NO: 5:

8             Responding Party objects to this request as vague and ambiguous and in particular

9     objects to the use of the word "you" without defining that term. Responding Party further
10
      objects to the use of the term "CON-WAY" as defined as rendering the request compound and
11
      unintelligible. Responding Party also objects to the term as "RETIREMENT BENEFITS" as
12
      vague and ambiguous and as rendering the request compound. Responding Party further objects
13
      to the term "service as a CON-WAY" employee as vague and ambiguous and as calling for a
14

15    legal conclusion, Responding Party also objects to this request as seeking information that is not

16     relevant to any of the parties claims or defenses Responding Party further objects to this request
17 to the extent it seeks information which is equally available to Propounding Party. Responding

18
       Party also objects to this request to the extent it seeks Raymond O'Brien's personal financial
19
       information protected by Raymond O'Brien's right to privacy as set forth in Article I, Section I
20
       of the California Constitution.
21

22             Subject to and without waiving the foregoing objections, Responding Party states that

23     based on the testimony of Raymond O'Brien during his deposition in this matter, at some time

24     after April of 1988, Raymond O'Brien received payments from a pension plan from XPO CNW,
25     Inc. (formerly known as Con-Way, Inc. and before that Consolidated Freightways, Inc.). In
26
       addition, Responding Party is also informed and believes based on the testimony of Raymond
 27

 28    PLAINTIFF'S RESPONSE TO DEFENDANT XPO CNW, INC.'S REQUEST FOR ADMISSIONS, SET ONE
    Case 4:16-cv-03869-JSW Document 210 Filed 12/30/19 Page 10 of 12



1     O'Brien in this matter, that after April of 1988, Raymond O'Brien received health care benefits
2     paid for by XPO CNW, Inc. (formerly known as Con-Way, Inc. and before that Consolidated
3
      Freightways, Inc.). Otherwise, Responding states that he is unable to admit or deny the
4
      remainder of this request due both to the ambiguity of this request, and also due to the fact that,
5
      despite a good faith, reasonable inquiry, he does not have information sufficient to admit or deny
6

7     this request, and has no means of readily obtaining such information.

8     REQUEST FOR ADMISSIONS NO: 6:

9             Please admit that from 1966 to 1995 YOU served on the Board of Directors of CON-
10
      WAY.
11
      RESPONSE TO REQUEST FOR ADMISSIONS NO: 6:
12
              Responding Party objects to this request as vague and ambiguous. Responding Party also
13
      objects to the use of the terms "YOU" and "CON-WAY", as defined, as rendering the request
14

15    compound and unintelligible. Responding Party also objects to the use of the phrase "served on

16    the Board of Directors of CON-WAY" as vague and ambiguous. Responding Party further
17     objects to this request to the extent it seeks information which is equally available to
18
       Propounding Party. Responding Party also objects to this request to the extent it seeks
19
       information that is not relevant to the claims or defenses of either party.
20
               Subject to and without waiving the foregoing objections, Responding Party states that he
21

22     is informed and believes based on the testimony of Raymond O'Brien in his deposition in this

23     matter, that from 1966 through 1995, Raymond O'Brien served on XPO CNW, Inc. (formerly

24     known as Con-Way, Inc. and before that Consolidated Freightways, Inc.)'s board of directors. In
25     addition, after 1995 Raymond O'Brien continued to serve as Chairman Emeritus of XPO CNW,
26
       Inc. (formerly known as Con-Way, Inc. and before that Consolidated Freightways, Inc.).
27
                                                                                                            6
 28    PLAINTIFF'S RESPONSE TO DEFENDANT XPO CNW, INC.'S REQUEST FOR ADMISSIONS, SET ONE
    Case 4:16-cv-03869-JSW Document 210 Filed 12/30/19 Page 11 of 12


1     Otherwise, Responding states that he is unable to admit or deny the remainder of this request due
2 to the fact that, despite a good faith, reasonable inquiry, he does not have information sufficient
3
      to admit or deny this request, and has no means of readily obtaining such information.
4
      REQUEST FOR ADMISSIONS NO: 7:
5
              Please admit that after YOU received compensation from CON-WAY for serving on its
6
7 Board of Directors, which compensation was separate from and in addition to any compensation
8 provided pursuant to the alleged AGREEMENT or AGREEMENT AS MODIFIED.
9 RESPONSE TO REQUEST FOR ADMISSIONS NO: 7:
10
              Responding Party objects to this request as vague, ambiguous and unintelligible as
11
      written. Responding further objects to this request as compound and disjunctive. Responding
12
      Party also objects to the use of the terms "YOU" and "CON-WAY", as defined, as rendering this
13
      request compound and unintelligible. Responding Party further objects to the use of the terms
14
15 "separate", and "compensation" as vague and ambiguous. Responding Party also objects to this
16     request as seeking information that is not relevant to any of the parties claims or defenses.
17 Responding Party further objects to this request to the extent it seeks information which is
18
       equally available to Propounding Party. Responding Party also objects to this request to the
19
       extent it seeks Raymond O'Brien's personal financial information protected by Raymond
20
       O'Brien's right to privacy as set forth in Article I, Section I of the California Constitution,
21
22             Subject to and without waiving the foregoing, Responding Party states that due to the

23 unintelligible nature of this request, and due to the fact that, despite a good faith, reasonable
24 inquiry, he does not have, and has no means of readily obtaining information on all of the
25 compensation and benefits provided to Raymond O'Brien, he is unable to respond to admit or
26
       deny this request.
27
 28    PLAINTIFF'S RESPONSE TO DEFENDANT XPO CNW, INC.'S REQUEST FOR ADMISSIONS, SET ONE
    Case 4:16-cv-03869-JSW Document 210 Filed 12/30/19 Page 12 of 12


1            Please admit that the Board of Directors of CON-WAY had the complete authority and
2     ability to change the terms of the alleged AGREEMENT AS MODIFIED.
3
      RESPONSE TO REQUEST FOR ADMISSIONS NO: 14:
4
             Responding Party objects to this request as vague and ambiguous and to the extent it calls
5
      for a legal conclusion. Responding Party also objects to this request as compound. Responding
6

7     Party further objects to the use of the term "CON-WAY" as defined as rendering this request

8     vague, ambiguous, compound and unintelligible. Responding Party further objects to the phrase

9     "complete authority and ability" as vague and ambiguous.
10
             Subject to and without waiving the foregoing objections, Responding Party denies that
11
      XPO CNW, Inc. (formerly known as Con-Way, Inc. and before that Consolidated Freightways,
12
      Inc.)'s Board of Directors or anyone else had the authority to change the terms of the
13
      AGREEMENT AS MODIFIED without Raymond O'Brien's consent.
14

15
        DATED: March 28, 2017                           BROWN, GEE & WENGER LLP
16

17
                                                            T T BRINE F. WE
18                                                       Atto eys for Plaintiff
19                                                       Christopher O'Brien, as Trustee of the
                                                         Raymond F. O'Brien Family trust
20

21

22

23
24

25

26

27
                                                                                                      12
 28    PLAINTIFF'S RESPONSE TO DEFENDANT XPO CNW, INC.'S REQUEST FOR ADMISSIONS, SET ONE
